*“EXécutivé Grant oPClémenty °”

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

I HEREBY COMMUTE the total sentence of confinement that each of the following
named persons is now serving, to expire on December 22, 2024, leaving intact and in effect for
each named person the term of supervised release imposed by the court with all of its conditions
and all other components of each respective sentence. Nothing in this grant of clemency should
be presumed to interfere with, or supersede, the Bureau of Prisons’ authority to oversee each
person’s confinement, pursuant to the terms set forth in this grant of clemency. Each person shall
remain subject to all ordinary disciplinary rules. The following persons are recipients of this

grant of clemency:

Name Reg. No. Name Reg. No.
ANTWON ABBOTT 16383-028 RAY AGUILLARD 05451-095
RLS AR ABDUL AZIZ 02438-095 ALBERTO AGUIRRE 68408-079
EDWARD ABELL III 00566-138 CHELSEY AGUIRRI 57387-177
ANTHONY ABREU- 44903-069 TOYOSI ALATISHE 63492-037
MATOS

DENNIS ALBA 89560-012
FAYEZ ABU-AISH 67402-018

BRIAN ALCORTA 44752-380
JOSE ABUNDIZ 11828-085

MAHMOUD ALDISSI 60832-018
JORGE ACEVEDO 04413-028

ROBERT ALDRIDGE 00195-120
MARK ACKERMAN 30428-047

ANTHONY ALFARO 22710-026
SETH ACOSTA 47417-177

MUHAMMAD ALI 42233-379
FELIX ACOSTA 78804-198

NAGY ALI 13500-479
KARA ADAMS 61718-019

ASIF ALI 57844-177
JOHN ADAMS 17769-029

MICHAEL ALLEN 14822-042
LONZINE ADAMS 39134-018

DEVORD ALLEN 05097-041
DARRYL ADAMS 32351-009

KRISTIE ALLEN 18933-023
HERMAN ADAMS 03791-480

BENJAMIN ALLMON 17008-029
ADEMOLA ADEBAYO 17711-104

KAHEIM ALLUMS 78040-054
AYODELE ADENIRAN 78249-054

GUMARO ALMANZA 57815-380
PAMELA ADENUGA 45171-177

JORGE ALOMAR-BAELLO — 74170-053
SHELINDER AGGARWAL — 34768-001

WILLIAM ALONZO 51061-039
MANUEL AGUILAR 26463-009

JAMES ALTOM 27680-045
RAMON AGUILAR III 50500-177

JUAN ALVAREZ 18027-097
VINCENTER JIMENES 19899-026

CARLOS AMADOR 64899-279
Name
6:14-cr-00571-DCC
FRANK AMODEO
ROBERT ANDERSON
ROBERT ANDERSON
THOMAS ANDERSON JR
MELVIN ANDERSON
JULIE ANDRADE
MARK ANDREOTTI
WILFREDO ANDUJAR

ANTONIO ESCOBAR

CHRISTOPHER
ANZALONE

JOSE APONTE

CLYDE APPERSON
ROY APPLEWHITE
DWAYNE APPLING
ALVARO ARGUELLES
MINEL ARIAS

GABRIEL ARIAS
MADURO

RICHARD ARLEDGE
GENNY ARMENTA
TRACY ARNOLD
ERIC ARNOLD
BERNARD ARRE
BENJAMIN ARZOLA
JAMES ASKEW III
NICHOLAS AUDETTE
CARLOS AVANT
ANGELA AVETISYAN
ERICA AYALA
ISMAEL AYALA
FRANK BADILLA JR
ALCIDES BAEZ
JACKIE BAGLEY
SANDRA BAILEY
JAMES BAILEY

Reg. No.
Date Filed 12/16/24
48883-019
14686-076
09350-021
41952-044
32689-074
75726-112
67620-050
23432-058
29230-479
06975-104

71104-050
14058-031
13755-040
12383-273
36944-479
85794-054
16089-104

16769-078
54202-177
52198-074
45771-074
04052-029
27539-050
27100-001
72060-018
22833-076
68350-112
49030-177
42295-018
43595-480
37504-004
63477-037
27281-076
05406-010

Name

Entry Number 91
RYAN BAIRD
ULYSEE BAKER JR
BRIAN BALLANGEE
JOHN BANKS
KIMBERLY BANKS
JEFFREY BANKS
FRAENCHOT BANKS
ANDRE BARBARY

EVIZAEL BARBOSA-
DELGADO

RUBEN BARCELO-
SEVERINO

COY BARKER
HAROLD BARNETT
YESENIA BARRAGAN
JOSE BARRERA
JOSE BARRERAS
ONEIL BARRETT
PHILIP BARRY

DION BARTLETT
KURT BARTON
RAMIRO BASALDUA
HARVEY BASS
SHALLIN BAST
PATRICK BATES
DERRICK BEALS
CARLOS BECERRA
LYDIA BECK
DONALD BECK
EDDIE BECKHAM
TODD BEHRENDS
ANTHONY BELL
JEAN BENITEZ-REYES
AUNDEL BENOIT
SHANNON BENTLEY
LARRY BENTLEY JR

Reg. No.
Page 2 of 24
15870-028
56979-083
11907-033
15023-075
96188-020
78927-083
15638-041
97866-004

76036-066
63353-018

22321-078
15762-033
80567-298
28336-078
15114-028
57578-298
775 73-053
51593-083
71720-280
64458-079
55769-018
22296-040
33795-058
04143-043
16447-179
71137-019
29104-057
34320-058
22602-047
2623 1-013
52753-069
363 12-004
71366-018
24069-044
Name
6:14-cr-00571-DCC
LEON BENZER
MARC BERCOON
ROGER BERGMAN
CARLOS BASTARD
AUSTIN BERTCH
CORDARRYL BETTON
ANTONIO BEVERLY
TRACY BIAS
DAVID BILES
MICHAEL BINDAY
MICKEY BIRGE
DOYLE BIVENS

KIMBERLY BLACK-
MCCORMICK

KEVIN BLALOCK
JAMES BLANTON
ANIS BLEMUR

KEVIN BLEVINS

ERIC BLOOM

JOHN BLOUNT
KENDALL BLUE
VILAWOE BOADU
ANDREW BOGDANOFF

ANASTASSIA
BOGOMOLOVA

LASHAUN BOLTON
AMANDA BONEL

RICARDO BONILLA-
ROJAS

CHRISTOPHER BOOTH
LISA BOOTON
RANDALL BOSTIC
SYLVESTER BOSTON JR
ROBERT BOSTON
ALICIA BOULDIN
AUDRA BOWDEN
MELVIN BOWEN

Reg. No.
Date Filed 12/16/24
47521-048

66081-019
04825-104
72419-054
14003-029
21389-043
02712-104
70248-061
40371-074
66389-054
10240-028
4003 1-074
265 18-045

42597-074
50960-509
19380-104
32128-177
44727-424
17880-035
55802-056
76454-408
68251-066
60833-018

30504-057
22810-078
40498-069

07502-043
30658-047
42523-074
50221-039
33525-058
58421-177
50705-177
19666-078

Name

Entry Number 91
PAUL BOWMAN
MICHAEL BOWMAN
VERNON BOWSER
CHRISTOPHER BOX
QUINBY BOYD
WILLIAM BOYLAND JR
KENNETH BRADLEY
MACK BRADLEY
WILLIAM BRADLEY
BENJAMIN BRADLEY
JUSTIN BRANON
DONALD BRELJE
MATTHEW BREMOND
STEVEN BREWER
TREAVOR BRIGGS
SHAMICHAEL BRIGHT
MITCHELL BROOKS
ANDREA BROOKS
TERRICIOUS BROOKS
SHELLE BROOKS
DONALD BROOMFIELD
BOBBIE BROWN
ATARI BROWN
JERMAINE BROWN
KEVIN BROWN
JB BROWN JR
EDDIE BROWN
DARRYL BROWN
ISAAC BROWN
TRAMAINE BROWN
JAMES BROWN
TERESA BROWN
JONATHAN BRUMBACK
TORRIE BRUMFIELD
ROCKY BRUMMETT

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53747-074
19060-084
14524-074
22026-084
30446-058
7975 1-053
09488-021
08073-043
87078-054
50878-039
89595-408
09657-041
20559-006
24281-077
32708-009
14688-035
24135-016
28601-380
54557-056
04027-029
61304-018
40453-424
5468 1-039
62269-019
32427-016
19409-026
06900-063
46329-074
33651-058
91240-053
31677-171
22766-045
22506-031
32473-034
12354-032
Name
6:14-cr-00571-DCC
MICHAEL BRUNER

MICHAEL BRYANT
GREGORY BUCK
TAMATHA BUCKHOLT
KEVIN BUI

DENNIS BUNCH

JOHN BURGESS
JAMES BURKHART
PAUL BURKS
ALEKSANDR BURMAN
VICTOR BURNETT
ANTHONY BURNETT
PIERRE BURNETT
LAMEL BURNS
SIRRICO BURNSIDE
NATHANIEL BURRELL III
REBECCA BURRESS
KERI BURROUGHS

CRYSTAL BUSBY-
TETZLAFF

ANTONIO BUSSIE
RUBEN BUSTOS
DANNY BUTLER
SHAWN BUTLER
JOHN BUTLER JR
MICHAEL BYERS

ERNESTO CABANAS-
TORRES

YERITHZA CABAUATAN
LYNN CADY

BRIAN CALLAHAN
THOMAS CAMBIANO
PIO CAMPOS

ROSETTA CANNATA
XAVIER CARDONA

LUIS CARIBE-GARCIA

Reg. No.
Date Filed 12/16/24

17984-032
54559-004
26568-081
63353-280
26874-017
78044-083
59495-177
15426-028
29723-058
50234-054
54977-039
16708-028
15146-028
42334-424
24037-171
71431-066
30393-074
14152-010
08770-046

66847-019
47273-380
19107-033
83619-083
20040-018
34932-058
59340-408

64824-298
55388-380
82618-053
28886-03 1
093 14-089
62780-018
36123-380
16113-069

Name Reg. No.
Entry Number 91 Page 4 of 24
JAMES CARLSON 16784-041
ALLEN CARNES 02783-061
TERRELL CARNEY 33927-034
LUSHAWN CAROLINA 58659-083
KELLI CARON 13604-059
HORRIS CARPENTER 27422-076
PEDRO CARRASCO JR 07532-046
CARMELO 53078-069
CARRASQUILLO-LOPEZ
JIMMY CARRASQUILLO- 33484-069
RODRIGUEZ
JOSE CARRILLO 62730-080
CLIFFORD CARROLL 13905-104
DEWEY CARROLL 50232-037
RASHAUN CARTER 21884-084
ERIK CARTER 51330-039
MAURICE CARTER 97740-020
JOSEPH CARTER 16691-075
RANDY CARVER $3579-074
JAMES CARVER 25084-014
MELISSA CASEY 48834-074
SHARLENE CASH 33 128-064
NORMA CASILLAS 52244-179
VLADIMIR CASTANEDA 62039-018
ROLAND CASTELLANOS 62970-019
RONALD CASTILLE JR 63882-280
DANNY CASTILLO 26164-014
NELVING CASTRO 6955 1-066
DESHON CATCHINGS 47363-039
JOSE MORA CATES 17496-028
DWELLY CAULEY 69830-004
SEUI CAVAN 08947-030
PEDRO CAVAZOS JR 52624-080
OSVALDO CEBALLO 01241-104
RAFAEL CEBALLOS- 06988-028
CASTILLO
Name
6:14-cr-00571-DCC

DOMINGO CEDANO-

MARTINEZ

ISRAEL CEDENO-
MARTINEZ

ROMAN CHAIDEZ-
ALVAREZ

AMANDA CHAMBERLAIN
SHAUNTEL CHAMBERS

KAWANA CHAMPION
NIGEL CHANDLER
JAMES CHANEY
DONNIE CHASTAIN
LIZA CHAVERA

JOSE CHAVEZ

CARLOS CHAVEZ-
LOZANO

JUAN CHAVIRA-
GUERRERO

MARCUS CISNEROS
XAVIER CISNEROS
EMMA CLARK
BERNARD CLARK
ROBERT CLARK JR
NEIL CLARK
KASIMU CLARK
GEORGE CLARKE
NORMA CLAUDIO
TIMOTHY CLINE
BRADLEY CLOUGH
MARIAN CLUFF
MIKE COFFELT
GAYBBRELL COFIELD
CLARENCE COHEN
DALE COLBERT
KEVIN COLEMAN
KEITH COLEMAN

VLADIMIR COLLAZO-
FLORIDO

Reg. No.
Date Eiled 12/16/24
59126-177

66258-050
17137-424

54101-177
17381-027
71021-019
32455-177
17746-032
60461-019
84866-380
07920-027
08285-063

26392-078

55251-177
87026-280
27724-078
27715-171
10732-078
06923-032
49960-066
24708-052
01722-138
08718-062
12318-028
92132-379
42779-074
53224-056
43732-039
63077-112
30836-076
09587-021
13775-069

Name

Entry Number 91
NICHOLAS COLLINS
MARLON COLLINS
RUSSELL COLLINS
LEON COMBS
MICHAEL CONAHAN
BRUCE CONANT

HUMBERTO
CONCEPCION-
ANDRADES

KARIN CONDON
RAYMOND CONLEY
NOEL CONTRERAS
VANESSA COOPER
DEWAYNE COOPER
CHERIE COPELAND
BRYAN COPELAND
JOSEPH COPELAND

CHAY ANEE CORCINO-

SERRANO
MATTHEW CORDERO

RAFAEL CORDERO
JARVOR COSSE
JACORY COULTER

CLARENCE
COUNTERMAN

HENDRICK COUSAR
DONALD COX JR
GARRY CRAIGHEAD
ZAN CRANDALL JR
WILLIAM CRANE
QUANTEZ CRIBBS
RACHEL CROWE
KACEY CROXTON
RITA CRUNDWELL
RICHARD CRUZ
ANNA CUARTAS
CHAD CURRY

Reg. No.
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26482-034
05871-041
05959-032
07917-032
15009-067
25387-045

5041 1-069

08979-059
11368-035
89187-008
58397-018
24919-034
34593-045
55708-018
16683-089
52234-069

09956-087
68437-066
37473-034
28564-078
58238-380

23407-171
49022-177
62952-380
17023-003
31603-001
10735-029
14291-509
54049-177
44540-424
70012-054
15923-104
00527-120
Name
6:14-cr-00571-DCC
JONATHAN CURSHEN
SALAH DADO
COURTNEY DAILY
AUGUSTIN DALUSMA
AARON DAN
MELVIN DANIELS
ETHEL DANIELS
JAMIE DARBY
VIKRAM DATTA

PAUL DAUGERDAS

KENDRICK DAVENPORT

ARNULFO DAVILA
ERIC DAVIS

AMANDA DAVIS
MICHAEL DAVIS
MARTEE DAVIS

LISA DAVIS

KOBIE DAVIS

PIERRE DAWSON
FEDERICO DE LA CRUZ
MERCEDES DE LA PAZ
DAVID DE LOS SANTOS
NICHOLAS DEANGELIS
CHRISTINE DELACRUZ
GERARDO DELBOSQUE
OSCAR DELGADILLO
VINCENT DELGADO
RODNEY DELOACH
DAVID DEMATHEWS
DONNA DEMPS

GUY DERILUS

ANITA DESORMEAUX
EDUARDO DIAZ
RICARDO DIAZ
HECTOR DIAZ JR

Reg. No.
Date Filed 12/16/24
90293-054
45816-039
25700-075
71080-018
94757-022
32900-171
66014-019
16934-002
64542-054
62444-054
14089-179
32490-177
31339-044
$2217-074
55247-060
31634-001
14202-029
17745-026
20863-424
08369-379
65423-298
49817-177
71691-004
20753-006
16494-078
88249-479
27854-039
04816-061
11256-112
66889-018
94425-004
17404-035
31301-045
79173-479
04822-508

Name

Entry Number 91
RAFAEL DIAZ-ALICEA
ALAN DIAZ-FELICIANO
JOSE DIAZ-MEDINA
JERRY DICE
CLINTON DICKERSON
EARLIE DICKERSON
JON DIRK DICKERSON
WALTER DIGGLES
EDWARD DIMARIA
NATHANIEL DIXSON
KRISANDREA DOBBS
JUAN DOMINGUEZ
FELICIA DONALD
LAMON DONNELL
RONALD DOTSON
DARREN DOUGLAS
RICK DOWDEN
JACK DOWELL
WILLIAM DOWNS
ROBERTA DRAHEIM
MARC DREIER
GORDON DRIVER
JOHN DRULLINGER JR

PHOUMANO
DUANGTAVILAY

JOHN DUBOR
CORRIE DUDLEY
JADE DUGAN
CHAD DUNAWAY

BRUCE DUNKELBURGER

TOMMY DUONG

BARBARA DUPREY
RIVERA

RANDY DURAN
WILLIAM DYER
GERARD EASILEY

Reg. No.

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63755-018
50584-069
16909-069
18137-026
10113-078
08369-380
24921-045
25054-078
16900-104
16028-028
56495-177
76727-004
94272-083
16879-078
52832-074
1692 1-047
09130-028
05225-017
11865-033
11325-090
70595-054
47270-048
50200-177
27955-055

28044-479
28056-045
17343-273
15039-078
97329-020
21598-017
69394-018

55401-177
52295-074
71989-279
Name

6:14-cr-00571-DCC
MELODIE ECKLAND
ROBERT EDWARDS
VERNON EDWARDS
BENJAMIN EDWARDS SR
VICTOR EHLERS
GARY EISEMAN
MATTHEW ELDER
VIOLET ELDRIDGE
MICHAEL ELLIOTT JR
RYAN ELLIS

DARIEN ELLSWORTH-
DAWAY

RUDOLPH ENGEL
JOSEPH ENOX

ERIC EPSTEIN

JUSTIN ERWIN
CHRISTOPHER ERWIN

CINTHIA ESCOBAR-
RAMOS

ALFONSO ESPARZA

HAROLD ESQUILIN-
MONTANEZ

EDUARDO ESTERAS-
ROSADO

MICHELLE ESTEVEZ
ENRIQUE ESTRADA
DANIEL EVANS
RONALD EVANS SR
TERRY EVELAND
BRENDA EVERSOLE
DAITWAUN FAIR
EDWARD FARLEY
DAVID FARNSWORTH
AVION FARR
ANTWONE FARRAL
RONALD FAULK JR
ROOSEVELT FAZ

Reg. No.
Date Filed 12/16/24

52863-509
55683-018
28300-171
3 1320-034
25357-052
13633-059
17041-408
57294-019
18076-030
07971-036
71967-066

08084-059
41328-177
16513-104
26283-058
63427-050
50975-069

75902-097
49768-069

47753-069

55439-066
7653 1-112
43012-044
31084-018
15669-028
16161-032
25880-052
61330-019
16241-059
31852-009
13864-028
43628-054
85345-079

Name
Entry Number 91
JOHANNY FELICIANO-

GONZALEZ
FRANCISCO FELIX

HERIBERTO FELIX RUIZ
MELVIN FELIZ
SELICA FENDER

BRYAN FERRER-
VAZQUEZ

TERI FIEDLER
STEPHEN FIELDS
JESUS FIGUEROA
ROLANDO FIGUEROA
DANIEL FILLERUP
DERRICK FINCHER
STEVEN FINKLER
NORRIS FISHER

JENNA FITZHUGH-
THOMAS

TIMOTHY FITZPATRICK
FABIAN FLEIFEL
TERRY FLENORY
PATRICK FLORANG
GUSTAVO FLORES
MARGARITO FLORES
SHIRLEY FLORES

ALEXIS FONTANEZ
NIEVES

DAMON FORBES
WILLIAM FORD
KEITH FORD

NIGEL FORDE
MARSHALL FOSKEY
BRIAN FOSTER
NATHAN FOSTER
JOSHUA FOUNTAIN
MELISSA FOX
DAVID FRANCIS

Reg. No.

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50771-069

65558-208
31715-009
16314-054
16834-059
27465-055

46285-044
80657-083
01197-138
62539-018
25270-052
20128-085
39327-053
41251-177
36732-034

24140-055
57575-018
32454-044
09860-029
91742-051
41922-080
83175-179
66943-018

49337-019
11612-002
67064-018
91548-083
94169-020
59970-019
17583-002
05960-017
20767-045
38679-068
Name
6:14-cr-00571-DCC
MONICA FRAZEE

DEXTER FRAZIER
BOBBY FROMAN
JERRY FRUIT
JAMES FRY

PEGGY FULFORD
KATHY FUNTILA
CALVIN FURLOW
ANTONIO GADDIST
KRYSTA GAINES
WILLIAM GALLION
FREDERICK GANG
DANIELS GARCES
REYNALDO GARCIA
JACQUELINE GARCIA
GABRIEL GARCIA
AMBAR GARCIA

MANUEL GARCIA
ZUNIGA

DENNIS GARCIA-
CATALAN

NEYDIE GARCIA-PEREZ
NOEL GARCIA-RIVERA
MERRILL GARDNER
JODY GARDNER
RAMON GARIBAY
VICKI GARLAND
RICHARD GARRETT
BABY GARRISON
TREMAINE GARRISON
KEVIN GARVIN

JAMES GARY
HUMBERTO GARZA
JEREMY GASAWAY
AMBER GAUCH
ALFRED GEREBIZZA

Reg. No.
Date Filed 12/16/24
68730-298

71019-019
38833-177
53517-054
15927-041
37001-034
06000-122
60885-019
28288-171
54427-177
11492-032
72630-054
28327-078
29332-479
12667-091
28966-180
57152-380
18857-030

56897-177

20096-479
23 164-069
13729-046
12401-104
42552-280
65459-112
43830-112
22813-021
67131-054
63886-019
08922-379
80485-079
10910-028
55287-177
63188-019

Name

Entry Number 91
COURTLAND GETTEL
ADAM GETTS
DENNIS GIBBONS JR
LC GILLS JR
GEOFFREY GISH
BYRON GLOVER
ALEXIO GOBERN
JAJUAN GODSEY
TISHA GOFF
CARL GOLDEN
WILLIAM GOLDSTEIN
JAMIE GOLLADAY
SOTERO GOMEZ
LIDERRICK GOMEZ

BRYAN GOMEZ
NEVAREZ

RANDY GOMILLA
DANEL GONZALEZ
ISAAC GONZALEZ
JOSE GONZALEZ
MARTHA GONZALEZ
MARCOS GONZALEZ
NORMA GONZALEZ

DAVID GONZALEZ-
PEREZ

ROBERT GOOD
STEVEN GOODMAN
WILLIAM GOODWILL
CLARENCE GOODWIN
CLINTON GOSWICK
GEORGE GRACE SR
DAMON GRAHAM
DANIELLE GRAVES
MARCEL GRAVES
LARRY GRAVES
ANDREA GRAY

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60857-298
17474-027
47362-074
30067-076
62152-019
27413-034
15002-057
4396 1-060
54112-074
04099-095
66083-019
71142-097
91525-054
33532-171
70388-018

14460-025
49687-069
56372-177
00727-138
56710-177
86617-054
94484-380
35448-069

32794-068
27355-009
14116-026
42129-074
33728-177
05652-095
13787-014
17929-030
20408-043
35377-408
15761-076
NaM)_cr-00571-DCC
SHERRY GRAY

JOHN GRAY

SHAWN GREEN
HENRY GREEN JR
JAMIE GREEN

DAVID GREENBERG
CHARLES GREESON
RODRICK GRIMES
MICHAEL GROVE
JAMES GUERRA
CLOYD GUILLORY
TREMAYNE GUIN
JEFFREY GUNSELMAN
SAVANNAH GUTHERY
FRANK GUTIERREZ
SANTOS GUTIERREZ
MARC GUYTON

ERIC GUZMAN

LEGUSTER HACK WORTH
Ill

ANDREW HAIR
DAMON HAIRSTON
JAMES HALD
HENRY HALL

KRIS HALL
HARRISON HALL
JANET HALLAHAN
FRANZ HAMBRICK
FRANK HAMILTON
LESLIE HAMILTON
BUCK HAMMERS
JOHN HANCOCK
ASHLEY HANNA
HUNTER HANSON
PETER HANSON
AARON HARBOR

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05057-088
33954-058
31359-171
42575-074
26213-078
59059-053
60784-019
05892-078
0781 1-002
36611-001
25713-479
64374-060
01056-380
31479-064
07626-051
60107-097
32201-034
72056-050
34685-001

54106-056
17753-027
17170-047
35370-016
08407-063
47294-424
11744-026
16770-179
34162-171
07068-089
08202-063
14341-078
28294-078
17369-059
03640-041
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BRANDON HARDERS 17362-029
DAVID HARDY 14486-078
CYNTHIA HARLAN 63290-018
MELISSA HARLESS 20400-084
CHRISTOPHER HARLESS 68123-280
DANNY HARMON 10089-028
JOSHUA HARNED 32207-001
SANDRA HARO 13202-479
JAMES HARPER 33908-171
CHARLES HARRIS 42637-379
DONTAI HARRIS 70182-018
VICTORIA HARRIS 09002-025
BOBBY HARRIS 46169-177
JIMMY HARTLEY 06148-028
MALCOLM HARTZOG 02391-043
LAMONT HARVEY 51237-039
JOHNNY HATCHER 31418-074
LARRY HAWKINS 16918-077
WOODROW HAYES 12732-035
JAMAL HAYNES 25575-017
WILLIAM HEARN 17282-003
STEVEN HEBERT 30953-034
ROBERTO HECKSCHER __‘14400-111
KATHRYN HELLEN 21895-040
ROBERT HELM 23180-047
SHAQUAN HEMINGWAY _ 02815-509
JEROME HENNESSEY 21756-041
JOHN HENOUD 25 198-083
WENDI HENRY 43511-074
KYLE HENSON 20303-076
MARCELA HEREDIA 76424-097
MICHAEL HERMAN 75 169-067
ERNEST HERNANDEZ 32005-479
PAUL HERNANDEZ SR 46860-177
SIRIA HERNANDEZ 14847-104
Name
6:14-cr-00571-DCC
JOHNNY HERNANDEZ
MARCOS HERNANDEZ
LEONARD HERNANDEZ

GUILLERMO
HERNANDEZ

RICK HERRERA
PEDRO HERRERA
NELLY HERRERA
ALEXANDER HEYING
RAYMOND HIBBERT
JERRY HICKS

JAMES HILL
BRANDON HILL
JOHNNIE HILL

AMY HILL

PHILLIP HILL
TIMOTHY HILLIARD
TERRANCE HILTON
TED HILTON SR
WILLIAM HILTS
SIDNEY HINES
CLAUDIA HIRMER
MARK HOBBY
TERENCE HODGE
DERRICK HODGE
THOMAS HOEY JR
RICO HOGAN
STEPHANIE HOLBROOK
BRIAN HOLLAND
EDWARD HOLLIMAN
MARCUS HOLLIMAN
BERNARD HOLLINGER JR
CHARLES HOLLIS JR
SAMUEL HOLLOMAN
LAWRENCE HOLMAN
KEITH HOLMES

Date

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52595-280
07452-078
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07035-017
49441-019
32479-171
42709-074
92147-054
48458-044
17997-029
57325-177
79670-054
65049-019
95775-020
97818-020
30964-057
28077-018
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Name

Entry Number 91
WAYNE HOLROYD
DAVID HOLT
TIMOTHY HOLT
JON HOLT
JACLYN HOOKER
RALPH HOOPER
MICHAEL HORN
WILLIAM HORTON JR
JOHN HOSKINS
GEORGE HOUSER
GEORGE HOUSTON
JAMES HOWARD III
FRED HOWARD

GILBERT HOWARD
SHELDON HOWARD
STEPHAN HOWARD

MICHEL HUARTE
MARC HUBBARD
CHARLES HUBBARD
KENNETH HUBBARD
MARVIN HUDGINS
SANCHEZ HUDSON
RANDY HUERTA
JAMES HUFF

WILLIAM HUFFMAN
DARWIN HUGGANS
TORREAN HUGHLEY
RAVON HUMPHREY
TINA HUNT

ALEXIS HUNTER
CHRISTOPHER HUNTER
BOBBY HUNTER
MOHAMED HUSSEIN
MATTHEW HUTCHESON
NORMA IBARRA CANTU

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10096-007
50520-177
52097-074
12172-041
48726-177
77365-054
28838-177
66940-479
17570-032
60799-019
16032-018
04067-017
07757-089
12704-032
92565-083
16912-027
82411-004
11465-058
69949-019
10119-043
47239-039
23300-058
20418-380
35783-044
49016-177
34513-044
29902-031
51358-039
17225-035
39141-177
44200-061
16007-028
22362-041
14620-023
94793-380
Name
6:14-cr-00571-DCC
DANA ICE

JESSICA IDLETT

JESUS IGLESIAS
GODREY ILONZO
LESLIE INMAN
REGINALD IRBY
CARLOS ISBY

AMER JABIR

REGGIE JACKSON
HOWARD JACKSON
CHARLES JACKSON
TOMMY JACKSON
DANNY JACKSON
FREDERICK JACKSON SR
TIMOTHY JACKSON
THERESA JACKSON
CHRISTOPHER JACKSON
DAVID JACKSON
IKEISHA JACOBS
JOSEPH DEE JACOBS
MICHAEL JACOBS
RAYMOND JACQUES III
CELSO JAIMES-MEDERO
DEVINCIO JAMES
KENNETH JAMES
TAMMY JANICEK
MARVIN JANKEE
LINDA JARAMILLO
JUAN JASSO

ROBERT JAYNES JR
EDWARD JEFFERSON
COLIN JENKINS
SHARON JESSEE
MIGUEL JIMENEZ
MORRIS JOHNS

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36314-180
56827-177
91860-280
63976-019
85901-379
69457-066
24743-009
17294-424
45833-039
54870-039
29263-009
21198-017
39094-068
47796-039
20364-043
08478-045
47079-074
08547-068
59274-056
27752-171
65325-056
17726-002
48891-177
27775-055
10402-002
54253-177
27728-058
06021-081
59988-018
12376-028
20644-045
71907-279
53734-074
18429-180
72464-280

Name

Entry Number 91
WALTER JOHNS
PATRICK JOHNS
COURTNEY JOHNSON
DORIAN JOHNSON
CORDELL JOHNSON
TIMMY JOHNSON
TIMOTHY JOHNSON JR
RONALD JOHNSON
MICHAEL JOHNSON
GEORGE JOHNSON
DEMETRIS JOHNSON
DAJANAE JOHNSON
KELLY JOHNSON
CALVIN JOHNSON
AARON JOHNSON
WILLIE JOHNSON
MONYET JOHNSON
JAMES JOHNSON
ADAM JOINER
JUSTIN JONES
MARCOS JONES
NATHANIEL JONES
TRAVELL JONES
CURTIS JONES
MATTHEW JONES
RONALD JONES
STEVEN JONES
ANTWAN JONES
RAYMOND JONES
BOBBY JUSTICE
STEVIE JUSTUS
CARL KAZANOWSKI
EMMANUEL KAZEEM
MEAGAN KEEL
BILLY KEEN

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37369-019
20366-043
72960-019
43811-074
19770-035
35692-044
14568-479
20761-041
13861-028
78855-083
19482-033
21347-043
60777-066
61977-066
66942-066
12498-002
20376-043
52164-074
78587-112
29162-179
18114-043
4371 8-037
18500-104
55887-019
24662-083
25678-044
30269-048
40833-424
11681-067
09715-032
15652-084
04953-122
76888-065
03518-480
18754-084
Name
6:14-cr-00571-DCC
DEANGELO KEITH

ERIC KELLEMS
BARBARA KELLEY
SAMUEL KELLY
JACK KELLY

JEROME KELLY
DARRON KENNEDY
DAVID KENNEY
BOBBY KHABEER
ANGELA KILPATRICK
ISSAC KING

RODNEY KING
MATHEW KINNEER
PERETZ KLEIN

DAVID KLINE
RICHARD KNEE SR
DELORES KNIGHT
DARYL KNOTTS
MATTHEW KOLODESH
ANTHONY KOON
CYNTHIA KOONS
JULIE KRONHAUS
MARK KUHRT

JACIE KYGER

SARKIS LABACHYAN
DONALD LAGUARDIA
CHRISTOPHER LAMAR
KESHIA LANIER
AMBER LANPHEAR
JOSE LANTIGUA

JERONIMO LARA-
VAZQUEZ

RONNIE LARKINS
GEORGE LARSEN
CLAUDIS LASSITER
GIOVANNI LATERRA

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63306-037
10236-025
16731-028
03219-112
04481-017
30467-068
27994-078
06513-040
26500-009
16777-003
16744-104
03025-029
18282-030
86086-054
21297-041
18153-026
61056-060
15336-509
67829-066
5 1666-424
11336-029
67738-018
99140-179
16921-084
29591-047
87596-054
63731-019
15355-002
17503-046
29934-058
60294-018

09781-033
7289 1-097
42543-037
19482-104

Name
Entry Number 91
KENDRICK LATHAM

ANDREW LAVIGNE
MARTIN LAWRENCE
STEPHANIE LAZA
ANTHONY LE

HECTOR LEDESMA-
CARMONA

RODOLFO LEDEZMA-
HERRERA

MARLON LEE
JOVON LEE
NICOLE LEEDY

MIGUEL LEGARDA
URRUTIA

MICHAEL LENTSCH
JOSEPH LEONARD
SANTO LEONE
NICOLE LESCARBEAU
DAVID LEWALSKI
LISA LEWIS
MARTIN LEWIS
TORRY LEWIS

PHIL LEWIS

JAMES LEWIS JR
DAVID LEWISBEY
JESSE LINARES
TIMOTHY LINDSEY
LEE LINDSEY
ARTIS LISBON

ANDRE LLOMPART-
FILARDI

JAMES LLOYD
ALEX LOCKLEAR
GREGORY LOLES
KATHY LOPEZ
DALIA LOPEZ
GILBERT LOPEZ JR

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05325-025
26043-052
06277-029
54307-177
17627-003
53542-069

60548-179

06645-068
64333-037
49891-177
08707-027

41789-044
56345-056
27152-379
01164-138
64121-054
12954-089
13406-047
28825-050
22737-078
16240-179
45353-424
06009-027
15723-077
28028-171
61947-019
49548-069

60995-112
56573-056
18551-014
72202-018
28144-479
99141-179
Name

6:14-cr-00571-DCC
ROGELIO LOPEZ-
BATISTA

ALEXANDER LOPEZ-
MONTANEZ

FRANCISCO LOPEZ-
NEGRON

CARLOS LOPEZ-ORRIA
BLIA LOR
CHRISTOPHER LORICK
ANTHONY LOUIS
NESLY LOUTE

ELAINE LOVETT
GEORGE LOWMASTER
OMAR LOZA

ROBERT LUSTYIK JR
ELIJAH MACK
ALONZO MACON JR
ROSALINA MADRIGALES
SERAFIN MAGALLON
DON MAIGARI
SILOMIGA MALAE

JOSE MALDONADO-
VILLAFANE

DANIEL MALEY
AHMAD MANN
STEPHEN MANNESS
MARIO MAREZ
RICKY MARIANO
KATHRYN MARKLE
CHRISTY MARSHALL
ANDRAY MARTIN
LISA MARTIN
HERBERT MARTIN
GARRY MARTIN
KEITH MARTIN
CHARLIE MARTIN
GERARDO MARTINEZ

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69633-066

49549-069

63246-050

50602-069
16850-089
57162-177
48400-019
62888-018
49530-039
32899-068
09168-027
91912-054
65368-037
14323-078
11938-308
70055-097
65116-060
88956-022
49404-069

15291-032
263 19-050
48609-074
80440-279
15955-041
$5921-177
54366-074
09601-041
15886-028
33656-057
26238-018
95629-280
03452-043
44179-380

Name

Entry Number 91
MARCOS MARTINEZ
XAVIER MARTINEZ
JOSE D MARTINEZ
WILLIAM MARTINEZ
RAMIRO MARTINEZ JR

ALFONSO MARTINEZ-
HERNANDEZ

CARLOS MATEO
MAGGIE MATLOCK
BRENT MAURSTAD
STEPHEN MAYES
CLARK MCALPIN
RONDALE MCCANN
MICHAEL MCCOY
ALFONZA MCCOY
WALLACE MCCREE III
RICKEY MCCURRY
ALEX MCDOWELL
GLADSTONE MCDOWELL
WILLIAM MCGEE
MARDELL MCGEE
TIMOTHY MCGINN
JUSTIN MCGINNIS
BRENDA MCGINNIS
TIMOTHY MCINTOSH
MICHAEL MCINTOSH
LARRY MCKAY
GREGORY MCKNIGHT
BRIAN MCKYE
MATTHEW MCMANUS
DAVID MCMASTER
PATRELLE MCNAIR
TORRANZA MCNEAL
MARLAN MCRAE
JAMES MCREYNOLDS
GINA MEDINA

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14653-002
76536-380
52574-054
27147-016
09167-479
46754-008

67609-054
14351-025
13076-059
32672-074
36962-034
16276-032
32480-177
55563-056
08752-002
18061-074
17079-043
12204-031
29299-179
31023-044
19470-052
90850-083
75816-097
70995-018
07958-029
10771-173
46755-039
26802-064
68250-066
11853-059
20907-043
00868-120
14632-040
09820-003
03015-093
Name
6:14-cr-00571-DCC
WILLIAM MEDLEY

JASON MEDLYN

TONY MEEKS

HERZEL MEIRI
RICHARD MELOCCARO
ROLANDO MENCHACA
MINERVA MENDEZ
JESSE MENDOZA
ELIZABETH MENDOZA

ALEJANDRO MENDOZA
JIMENEZ

JEFFERY MICHELLI
MICHAEL MIKESELL
AMANDA MILBOURN
SEYMOUR MILES
HARRY MILES
GEORGE MILLER
STACY MILLER

APRIL MILLER

DAISY MILLER

JERRY MILLER
JACQUELINE MILLS
GEARY MILLS
ROBERT MINOR
MICHAEL MINOR
SCOTT MISERENDINO SR
RUBEN MITCHELL
TOBIAS MITCHELL
WILLIAM MOATES JR
MICHELLE MOBLEY
MICHAELA MONCRIEF

DANIEL MONSANTO
LOPEZ

JUAN MONTALVO
ANDRE MOODY
MARCUS MOODY

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39650-044
$7015-056
44256-074
91160-054
21683-047
87199-280
48351-177
05890-041
96954-079
06615-033

27705-034
11834-029
46327-044
28370-055
17768-112
31622-076
42470-074
23761-171
00850-104
15165-043
28918-009
16878-078
04582-043
31389-034
84246-083
10954-023
11573-039
14264-010
49753-177
57905-177
77708-054

15669-479
09230-028
20413-043

Name

Entry Number 91
JAMES MOON
MEGAN MOORE
JONAIR MOORE
JAMES MOORE
BRIAN MOORE
JOE MOORER
SAMANTHA MOORMAN
DANNY MORA
CHRISTIAN MORALES
FRANK MORALES

ERNESTO MORALES-
CASTRO

GARY MORELAND
SABRENA MORGAN
RODRIGUEZ MORGAN
SONIA MORGAN
ASHLEY MORRIS
NATHANIEL MORRIS
GLADSTONE MORRISON
JACQUELINE MORRISON
RUBIN MORROW
RICHARD MOSELEY
MICHAEL MOSES
PHILISS MOSHER
EDWARD MOSKOP
DANNIE MOSLEY
DOUGLAS MOSS
KRISHNA MOTE
TAMER MOUMEN
MATTHEW MOWERY
WALTER MUHAMMAD
ALICIA MURFIELD
MICHAEL MURPHY
TIMOTHY MURPHY

JOHN MURPHY-
CORDERO

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53369-074
36376-013
19644-009
10903-028
58542-004
28087-078
17852-280
15498-028
46352-177
39270-069

20283-086
26986-045
63223-037
38103-068
523 16-074
27603-045
47993-177
47995-177
75859-112
31267-045
82384-198
72448-097
09159-025
18619-033
00806-120
68377-067
90928-083
26917-051
76406-112
57381-177
15782-424
43267-177
37950-069
Name
6:14-cr-00571-DCC
DONALD MYERS

RHONDA MYRICK
MIYOSHIA NANCE
ARTURO NATERA
COLIN NATHANSON

GUILLERMO
NAVARRETE JR

YAMIL NAVEDO-
RAMIREZ

CARLOS NAZARIO-
LOPEZ

JUAN NEGRETE
JESUS NEGRON-ROSSY
JAMES NEKVASIL JR
DEXTER NELSON
JONATHAN NELSON
BENJAMIN NEWMAN
JOHN NEWTON
BRIAN NEWTON
MANUEL NICASIO
MATT NICKA

DARYL NICKERSON
SHARLEEN NICKLE
SHERITA NICKS
CHRISTOPHER NIETO
ROBERT NIMOCKS
MARK NIX

GARY NOLEN
GEORGE NOONAN
RODRIGUEZ NORMAN
LARRY NORQUIST
KRISTIN NORRIS
JOSE NUNEZ

ADRIAN NUNEZ

QUEREN-HAPUC OCHOA-
ROMERO

WILLIAM OGBONNA

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Date Eiled 12/16/24

09139-028
2183 1-032
39117-177
71460-080
29308-112
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26585-380
43317-069
04317-027
11964-042
34556-177
333 13-045
30965-044
60572-018
833 16-380
01952-122
29444-057
32717-064
85909-083
09256-122
57045-039
48352-074
09762-062
04248-036
91419-083
17917-273
22208-026
43507-018
65615-280
75376-408

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Name
Entry Number 91
UCHECHI OHANAKA

PATRICK OKROI
MASON OLSON
CHRISTOPHER OMIGIE
RALPH O'NEAL III
CHARLES O'NEIL

JOSE ORELLANA
MONTALVO

FELIX ORTIZ-
RODRIGUEZ

HECTOR ORTIZ-
TARAZON SR

CHARLTON OSBOURNE

OGIESOBA OSULA
RUSSELL OTT

CRAIG OTTESON
DONALD OVERFIELD
CRUZ OVIEDO

GAIL OWENS
RACHEL PADGETT
LISA PAGE

MICHAEL PAHUTSKI
CYNDY PALMA
MYRNA PARCON
THOMAS PARENTEAU
RONALD PARHAM
DARNELL PARKER
WALIS PARRA-REYES
BABUBHAI PATEL
MANUELA PAVON
SPENCER PAYNE
JAMES PAYTON
ROSA PAZOS CINGARI
JUAN PECINA

CAROL PEDERSON
GEORGE PENA

JULIO PENA

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13320-179
17044-273
17204-273
66007-019
18792-075
61036-004
91380-083

50607-069

68824-308

23630-055
44879-177
46191-424
5471 1-177
14030-067
16368-480
55119-018
20200-021
22267-026
12411-058
63971-380
49681-177
67736-061
30548-076
22081-016
18260-021
46049-039
50607-177
71685-066
03490-033
60903-018
97459-020
77852-112
67821-018
3094 1-379
Name
6:14-cr-00571-DCC
KARON PEOPLES

BERNARDO PEREZ

LUZ PEREZ DEMARTINEZ
WILLIAM PERRY
ROBERT PERRY

DAVID PERRY

JOSE PERU

DIONE PETITE

SEAN PETRIE

HUNG PHAN

RODNEY PHELPS
JENNIFER PHILLIPS
SHAWANNA PHIPPS
ONEIDA PICASSO
NELSON PICHARD-REYES
CLAUDIA PIEDRA
JUAN PIMENTEL

ERICK PINERO-ROBLES
JOHN PIPKIN

MATHIAS PIZANO
RICHARD PLATO
GREGORY PODLUCKY
DUSTIN POE

JULIEN POLK

RAUL PORRAS-ACOSTA
ROBERT PORTER
KEVIN PORTIE

ISHMI POWELL

CLISTY PRATT
MELISSA PRESTON
JOAN PRICE

JEREMIAH PRIDE JR
DEVANTE PRIOLEAU
EARL PRITCHARD
HARRY PRITCHETT

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63608-037
37097-086
15968-049
26474-077
09845-028
30853-009
50110-177
12611-003
55543-039
56613-177
21576-032
83099-080
33777-058
50205-177
65421-053
41545-479
51088-408
5065 1-069
64455-056
08586-030
72619-079
30494-068
34527-001
24638-111
10229-180
15875-075
17127-035
69585-066
55423-177
11892-480
20402-021
77002-061
32563-171
30421-076
42565-074

Name

Entry Number 91
RON PRUITT
ROBERTO PULIDO
DAVID QUINTANA
VICENTE QUIROZ
RICHARD RACH III
CHAD RAGIN
SAIED RAMADAN
HENRY RAMER
LILLIANE RAMIREZ
DAVID RAMIREZ
ROBERT RAMSEUR
EPHRAIM RAMSEY
GREGORY RAND
GENA RANDOLPH
FLINT RATLIFF
DEBRA RATLIFF
JOHNNY READER
VENTERIA REASON
TAMIR REAVES
DENISE REDMAN
DARA REDMOND
JOSEPH REEDER-SHAW
DAVID REESE
FREDERICK REEVES
ZENAIDO RENTERIA JR
SARAH REYES
MAYRA REYES
CRYSTAL REYES
DILEAN REYES-RIVERA
MARQUIS REYNOLDS
APRIL RICE
GALLOWAY RICH III
RONALD RICHARD JR
MICHAEL RICHARDSON
ROGER RICHARDSON

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50015-039
76825-004
15904-028
91208-308
14859-088
68352-004
39093-083
17787-032
69571-112
30333-279
53900-177
08266-067
38641-177
32288-171
16268-171
17546-280
17905-078
13067-104
76735-066
27330-180
17862-029
56147-039
52139-066
25040-009
69119-112
05783-095
57582-177
24740-280
39927-069
67705-060
18201-026
71714-019
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70991-019
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KIKO RICHMOND

JENNIFER RICHMOND
THOMAS RILEY
JAMES RISHER
TOBIAS RITESMAN
LUIS RIVAS

PABLO RIVERA

JULIO RIVERA

LUIS RIVERA-PARES
MICHAEL RIVERS
GERALD ROBERSON
ONEAL ROBERTS
DJAMIL ROBERTS
LENA ROBERTS
ANTHONY ROBERTS
QUINCY ROBERTS
STEVEN ROBINSON
MARIA ROBLES
RANDY ROCKHOLT
CYNTHIA RODRIGUEZ
JENNIFER RODRIGUEZ
RAFAEL RODRIGUEZ
MARIO RODRIGUEZ
STEPHANIE RODRIGUEZ
RUBEN RODRIGUEZ JR
JOE RODRIGUEZ

ALLAN RODRIGUEZ-
CRISPIN

CLARA RODRIGUEZ-
IZNAGA

STEPHANIE RODRIGUEZ-
VERDUGO

BUFORD ROGERS
ALFONIZA ROGERS
KENNETH ROGERS
JEREMIAH ROGERS
JOHN ROGERS

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82085-053
17546-021
64117-053
15965-028
51332-074
57884-177
15621-040
11916-087
44739-013
14025-027
28803-03 1
15791-379
95341-380
52813-180
49750-177
20243-480
10610-179
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01869-027
09823-003
18196-104
96309-020
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JOSEPH ROHE JR

OMAR ROJAS

BARBARA ROJAS
BLANCA ROJO
ANSWAR ROLLINS JR
ROSA ROMAN

JUAN ROMAN-POLANCO
RICHARD ROSA
FRANCISCO ROSALES

HECTOR ROSARIO-
RIVERA

EVELIO ROSARIO-
ROSADO

CHRISTOPHER ROSE
ROGER ROUSSEAU
MICHAEL ROYAL
HENRY ROYER

DONACIANO
RUBALCABA-MIJAREZ

SHAWNA RUBY
MICHAEL RUDDELL

ANTHONIO RUEDA-
AYALA

BRENDA RUEHLOW
FERDINAND RUIZ
ANTONIO RUIZ
MARIBEL RUIZ
WILLIAM RUNION
MEERA SACHDEVA
ISIAH SADLER
JUSTIN SAIN
SUSAN SALANE
WILLIAM SALES SR
SANTOS SALINAS
SANTA SALINAS
SANTIAGO SALINAS
GARTH SALKEY

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17004-003
57547-379
14438-104
27546-045
07333-025
27787-180
75699-067
20126-006
59027-280
39556-069

49761-069

14090-179
03652-104
51341-074
25268-111
783 16-380

18777-030
55997-177
19862-111

17543-029
59030-066
61667-004
26302-078
54165-074
16240-043
89404-053
53 137-074
37270-034
15035-056
58320-380
71389-479
11962-018
86171-083
Name
6:14-cr-00571-DCC
GREGORY SALLEE

RANDON SALLIS
BARRON SALTER
MICHAEL SAMANIEGO
ALLYSSA SAMM
JAIME SANCHEZ
MAGGIE SANDERS
PAUL SANDERSFELD
BERNARDO SANTANA
JOHN SANTOS
RAFAEL SANTOS
BENITO SARABIA
DALTON SARGENT
ARNULFO SAUCEDA
CARLTON SAYERS
MANUELE SCATA
JOSEPH SCHABOW
DAVID SCHAFFER
MICHAEL SCHLAGER
JAMES SCHNEIDER
ANGLE SCHUEG
PHILLIP SCOTT
DARRYL SCOTT
RANDALL SCOTT
ZACHARY SCRUGGS
TIMOTHY SEABURY
CLAY SEALS JR
JOANNE SEELEY
RONNIE SEGER

JOSE SEGOVIA
GARY SELLERS
JAYMIE SELLERS

CESAR SEQUEN
RODRIGUEZ

RALPH SERGO
JUAN SERRANO-NIEVES

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19573-033
04416-063
14237-003
35329-177
31619-045
06704-104
33230-058
17512-273
50816-039
70462-054
26932-050
64868-079
21769-026
55692-177
26948-078
96802-038
19892-033
46423-044
66734-066
16646-104
72344-067
31131-001
62361-037
57796-019
16320-028
11910-003
52544-074
42801-177
1463 1-010
35342-080
15994-028
46028-177
67973-018

15541-104
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Name
Entry Number 91
MANUEL SERRATA

SUSANA SERRATO
NEVIN SHAPIRO
KINZEY SHAW
ASHLEE SHAW
RICHARD SHAW
JOSEPH SHAYOTA
MAQUEL SHELBY
CURTIS SHELL

SCOTT SHELLEY
BROCK SHELLMAN
JOSEPH SHERESHEVSKY
SAFARA SHORTMAN
JONATHAN SHOUCAIR
KENNETH SHOULDERS
ANTONIO SHUFFORD
RICKY SHULL

CRISTIAN SIBERIO-
RIVERA

RACHEL SIDERS
ERIC SIERRA
TIMOTHY SIMMONS
EVONNE SIMMS
TEDDY SIMS
GEMAL SINGLETON
CHERYL SINGLETON
DUANE SLADE
JERIEL SLAY
ROCKY SLOAN
RUDOLPH SMALL
CORDNEY SMITH
EUGENE SMITH III
PATRICK SMITH
DUSTIN SMITH
KEVIN SMITH
CHRISTINA SMITH

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19425-179
16246-059
61311-050
15956-059
00255-120
56956-019
50260-298
20067-035
16837-043
07195-509
16958-027
35857-054
17107-046
21591-112
47293-424
19657-056
13572-025
7603 7-066

68023-097
59046-066
15682-002
58983-177
07449-104
71034-050
69550-019
36995-280
28305-055
17722-029
64572-060
11899-030
54978-039
63919-037
35801-001
30323-076
70918-019
Name
6:14-cr-00571-DCC
JOHN SMITH

WILLIE SMITH III

PATRICIA SMITH SLEDGE

JAMES SNOWDEN III

BELKIS SOCA-
FERNANDEZ

ABDEL SOLIMAN
KENNETH SOLOMAN SR
CURTIS SOMOZA
EGLAEL SOTO

SUHEIDY SOTO-
CONCEPCION

ADRIANO SOTOMAYOR
MARK SPANGLER
JASMINE SPENCE
STEVEN SPENCER

KELLY SPINKS
REBECCA SPINLER
COLIN SPOTTED ELK

DEON STEAVE

ERICA STEFFENS
SHANE STEIGER
SHAWNELL STENGEL
EVERT STEPHEN
MATT STEWART

JAMES STEWART-
CARRASQUILLO

CYNTHIA STIGER
DAVID STOCKS
CLINTON STOWERS
SHALIEK STROMAN
KENYA STRONG
RODERICK STRONG
MICHAEL SUBLETT
MARCUS SULLIVAN
DUSTIN SULLIVAN
CHRISTOPHER SWARTZ

Reg. No.

Date Filed 12/16/24

08708-028
97911-020
63764-112
24803-171
67590-018

67808-053
61113-018
43619-112
27615-078
72848-067

19312-050
42280-086
54863-177
23545-055

15730-028
19680-023
10049-273

33806-068
49497-048
32746-177
29509-03 1
03103-104
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49767-069

44137-177
70935-019
70075-019
72372-067
69530-018
14725-171
15853-028
18239-026
17459-030
24404-052

Name Reg. No.
Entry Number 91 Page 19 of 24
PAMELA TABATT 41795-044
TERRY TAKIMOTO $5462-048
TERRENCE TALIFERRO 11362-026
SALVADOR TAMAYO JR 69589-280
AYLWIN TAN 99187-198
EVERETT TARR 11305-028
STEVEN TAYLOR 26276-086
BARRY TAYLOR 32452-058
QUINCY TAYLOR 63093-037
OMAR TEAGLE 60508-066
KEELEON TENNARD 73012-279
BRADLEY THAYER 16800-273
AMBER THIELE 40256-044
JACKIE THIELEN 18774-030
MICHAEL THOMAS 1743 1-027
CRYSTAL THOMAS 27832-078
LEROY THOMAS 15993-028
JAYCIE THOMAS 20827-043
DAMIEN THOMAS 58328-037
DEBORAH THOMAS 20033-104
TARA THOMASON 33906-171
DANNY THOMPSON 25582-076
THERON THOMPSON 51081-056
DONALD THOMPSON 25611-509
WILLIAM THOMPSON 66065-056
QUENTIN THOMPSON 26134-044
GREGORY THOMPSON 21460-043
DEVON THOMPSON 64549-037
SHAHEED THOMPSON 83286-004
DIANE THOMSEN 17293-273
MURRAY TODD 66088-056
STEVEN TOMERSHEA 10489-084
DAVID TONEY 69707-066
TONYA TOPEL 32708-045
ROBERT TORRES 64789-056
Name
6:14-cr-00571-DCC
PATRICIA TORRES

OLGA TORRES-SOREANO

CARLTON TOWNS

ERIC TOWNSEND
MILLICENT TRAYLOR
RANDALL TREADWELL

RAMIRO TREVIZO-
GRANILLO

DALTON TRUAX
JAVIER TRUJILLO
MICHELLE TRUONG
EMMITT TUCKER

ANDREW TUCKER-
MORENO

CRYSTAL TUNNING
ANGELICA TUPPER
JAMES TUREK
TORRENCE TURNER
JAMES TURNER
TIMOTHY TYSON JR
CARRIE TYSON
MICHAEL URBAN
BALMORE URBANO
KAVEH VAHEDI
MOSES VALDEZ
ERIC VALDEZ
SIGIFREDO VALDEZ
GABRIELLA VALDEZ
JOSE VALDEZ
JESSICA VAN DYKE
CHARLES VANATTA
WILLIAM VANATTI
CRYSTAL VARA

ALAN VARGAS-
GALLEGOS

GOODWIN VARGAS-
GONZALEZ

Reg. No.
Date Eiled 12/16/24

83827-380
60120-180
51382-039
00875-120
54745-039
94385-198
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15179-010
80563-298
69235-097
19752-085
16605-029

96989-004
15417-033
14810-032
26581-009
14154-002
88269-020
12126-056
55560-177
47582-424
62844-112
31389-064
31390-064
31392-064
30064-047
90547-380
50378-044
12652-028
17511-029
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75863-408

46602-069

Name

Entry Number 91
THOMAS

VASCONCELLOS
JUSTIN VASEY

JESUS VAZQUEZ
ALFONZ VEI
SANTIAGO VELIZ
FRANK VENNES JR
DAVID VIGIL
FRANK VILLA
KEITH VINSON
JASON VOTROBEK
JOHN WAKEFIELD
SALVADOR WALKER
TIFFANY WALLACE
NANCY WARD
JAMES WARD
LAUREN WARD
JAZZMAN WARREN
LEE WATKINS
CLARENCE WATSON JR
JAY WATSON
EDWIN WATSON
TERESA WATSON
ROBERT WATSON
KURT WAYNE
GREGORY WEBB
BOBBY WELLS
PERRY WELLS
DAVID WELLS
MICHAEL WELLS
KIM WESLEY
DENNIS WESTBROOK
JOHNNY WHITE
AUNDRAY WHITE
CANDACE WHITE
TIMOTHY WHITE

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18208-030
14275-018
16191-049
50003-177
05123-059
75930-097
06717-196
27369-058
62966-019
15428-002
67515-098
26333-075
23259-077
54604-074
00802-120
19736-033
19768-035
19125-033
46768-177
37363-034
31981-064
72972-279
39857-177
47129-424
49355-048
86769-054
53664-074
2662 1-044
88707-020
21560-045
45312-177
76026-054
91235-083
19254-097
Name
6:14-cr-00571-DCC
DEMOND WHITE

LAWRENCE WHITE II
TRAVIS WHITE
CHARLES WHITE
TONY WHITE EVERETTE
DARIUS WILLIAM
REBECCA WILLIAMS
DAVID WILLIAMS
ROBIN WILLIAMS
TRACY WILLIAMS
JERMAINE WILLIAMS
DAVID WILLIAMS
CIARA WILLIAMS
CHRISTOPHER WILLIAMS
LAMONT WILLIAMS
LAVELL WILLIAMS
GARY WILLIAMS
STEVEN WILLIAMS
BETTYE WILLIAMS
DEREK WILLIAMS
HERMAN WILLIAMS
ANTHONY WILLIAMS
OCTAVIUS WILLIAMS
DION WILLIAMS
JOSEPH WILLIAMS
AARON WILLIAMS
DONNA WILLIAMS
EARL WILLIAMS JR
JDONTA WILLIAMS

Reg. No.
Date Filed 12/16/24

46461-074
33927-057
T3V 12279
40355-424
65417-056
27904-078
21580-084
$6324-177
59010-177
69527-018
35374-068
43076-039
27560-078
51600-074
48343-066
08665-030
21195-032
91120-054
92623-083
35289-054
09877-021
71167-019
49841-177
80352-083
01947-017
40727-424
14756-010
11386-089
24459-009

Name
Entry Number 91
FREDRICK WILLIAMS

SHAWN WILLIAMS
AALIYAH WILLIAMSON
KNOGS WILLS

ALDEN WILSON

JOHN WILSON
RICHARD WIMBLEY
PEDRO WIPP-KELLEY
CHRISTOPHER WOOD
ERIN WOODS
MARSHANE WOODS
RASHAD WOODSIDE
AMBER WORRELL
PEGGY WORTHINGTON
CHARLES WYATT
CHRISTOPHER YEAGLEY
JEFFREY YOHAI
SHALEI YOUNG
JOSHUA YOUNG

LISA YRDANOFF

JOSE ZAVALA

CALVIN ZEIGLER
MIKHAIL ZEMLYANSKY
EDWARD ZINNER
PERLA ZUNIGA
ENRIQUE ZUNIGA

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21106-017
59172-018
20561-043
27741-078
16326-046
57046-018
31515-074
44289-069
18155-040
20701-043
20398-074
01607-104
84297-408
18407-030
34961-001
85126-054
75866-112
19535-023
16029-059
56282-177
07151-017
19490-052
66544-054
48591-066
28160-379
17910-030
I HEREBY FURTHER COMMUTE the total sentence of confinement that each of the
6:14-cr-00571-DCC | Date Filed 12/16/24 EntryNumber91 Page 22 of 24
following named persons is now serving, to expire on April 11, 2025, leaving intact and in effect

for each named person the term of supervised release imposed by the court with all of its
conditions and all other components of each respective sentence. Nothing in this grant of
clemency should be presumed to interfere with, or supersede, the Bureau of Prisons’ authority to

oversee each person’s confinement, pursuant to the terms set forth in this grant of clemency.

Each person shall remain subject to all ordinary disciplinary rules. The following persons are

recipients of this grant of clemency:

Name Reg. No. Name Reg. No.
JAIME AIRD $7707-004 CHARLES GOFF JR 42572-061
ANA ALVAREZ 8 1092-004 FRANCISCO GONZALES —_47204-177
EDUARDO ALVAREZ- 13733-112 JOSEPHINE GRAY 37156-037
MARQUEZ

ROGELIO GUERRERO 95371-079
SUSAN ANDERSON 09351-021

TAMRAL GUZMAN 43512-074
DIMITRY ARONSHTEIN 64428-054

JOSE GUZMAN JR 09575-032
GREGORY BARTKO 61509-019

LAWRENCE HABERMAN _ 36897-177
SHANE BEGLEY 16165-032

JUDY HARMON 17940-042
TASHA BLACKBURN 10417-003

WENDY HECHTMAN 30350-047
TIMOTHY BRADLEY 43080-074

TAMEE HENEGAR 42217-074
TRAVIS BROUGHTON 40626-509

CHRISTY HINES 45933-074
FRANKLIN BROWN 40612-424
MILTON CARBE 66325-079 DSIRE HUNT eine LTT
JUAN CARRASCO 38885-177 REBECCA JACKSON 35684-177
TERRENCE CARTER 40030-424 BILLY JEFFERSON JR 83653-083
PAUL CASS 6342-001 SHAFT JONES 04688-027
RUBEN CASTANEDA 83640-079 CHRISTOPHER JOSEPH 33190-034
NICOLE CLARK 83942-083 BENNY JUDAH 38878-177
JUAN CRUZ 30864-177 KAREN KALLEN-ZURY 00857-104
ANTHONY DESALVO 5 1480-074 JAMES KING 39491-039
MICHAEL DIFALCO 58132-018 LONNIE LANDON 19661-078
JAMES DIMORA $6275-060 WON LEE 7341 1-004
KRISTINA ERICKSON 12929-059 KEITH LEWIS 22457-055
JEROME FLETCHER 87729-020 SAMUEL LLOYD 62640-019
JUAN FLORES 0402-052 ERNEST LOPEZ 80125-280
RICHARD GALIMBERTI 68520-054 ANDREW MACKEY 72284-053
GERRICK GAMBRELL 50140-037 VICTOR MARIN 2855 1-034
Name
6:14-cr-00571-DCC
HOMERO MARTINEZ

STEPHANIE MCCLUNG

GARY MCDUFF
THOMAS MCGLON
RORY MEEKS
VICTOR MENDOZA

FRANCISCO MENDOZA

-THOMAS MOOTY
DORA MOREIRA
DAVID MORROW
BRYAN NOEL
CLIFFORD NOEL
CASEY PAINTER
REBECCA PARRETT
JULIUS PINKSTON

LEITSCHA
PONCEDELEON

MARTIN PUENTES JR
SONNY RAMDEO
MICHAEL RIOLO
RALPH ROMERO
SPECK ROSS

BRIAN ROWE
MICHAEL RYERSON
JOE SANDOVAL
FRANCESK SHKAMBI

Reg. No.

Date Filed 12/16/24

45120-177
15391-088
59934-079
38887-019
06138-029
14194-180
48863-180
69022-066
03240-104
21500-076
23585-058
34605-183
33886-177
85489-008
42008-019
27916-055

24131-077
80568-053
73455-004
07528-027
19973-077
63555-054
32587-074
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46728-039

Name

Entry Number 91
ERNEST SINGLETON
RICARDO SMITH
WALTER SORRELLS
JO ANN SPECK-EDGMON
JERMAINE SPEED
DEMETRIUS SPENCE

JOAQUIN SUAREZ-
FLORES

BARRY SULLIVAN
JOSEPH SWAFFORD
LARRY TALLENT
FLAVIO TAMEZ
DUJUAN THOMAS
CHADWICK THOMPSON
JOSE TOBIAS

GUMARO TORRES-LEON
RAFAEL UBIETA
VIDALE WALKER
RONALD WALSTROM
DONNELL WALTERS
KENNETH WASHINGTON
DANIEL WATLINGTON
STEPHON WILLIAMS
RONNIE WILSON

Reg. No.

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19676-026
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41045-074
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82036-083
07787-078
77041-279
34322-013
00725-104
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16469-078
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6:14-HEREBY DESIGN AE pifeetuand empowerthe Pudpmatoney. aAye 24 of 24

representative, to deliver to the Bureau of Prisons a certified copy of the signed warrant as
evidence of my action in order to carry into effect the terms of these grants of clemency, and to
deliver a certified copy of the signed warrant to each person to whom I have granted clemency as

evidence of my action.

IN TESTIMONY WHEREOF | have hereunto signed my name and caused the seal of
the Department of Justice to be affixed.

Done at the City of Washington this 12th day of
December in the year of our Lord Two
Thousand and Twenty-Four and of the
Independence of the United States the

Two Hundred and Forty-Ninth.

fapd Mose J

JOSEPH R. BIDEN JR.
President

